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IN THE UNITED s'rA'rEs DIsTRIcT coun'r
FoR THE wEsTERN nIsTRIcT oF TENNESSEE 05 JUL |2 PH|Z. 35
wEsTERN nIv:sIoN `

 

GRAND OAKS, INC.,
Plaintiff,
Misc. No. 00-MC-028

'V'.

ARTI'IUR W. ANDERSON, SR. , and
J'ERRY L. HOLLINGSWORTH,

V~VVWVVVV\I

Defendants.

 

OR.`DER DEN'YING DEFENDANTS' MOTION FOR CLARIFICATION OF COURT’S
FEBRUA.RY 26 , 2004, OR.`DER AND TO CORR.ECT THE COURT'S DOCKET

 

Before the Court is Defendants' motion for clarification of
an order issued by the Court on February 26, 2004, and to correct
the Court's docket, filed October 8, 2004. Both the February 26,
2004, order and the docketed filings referenced in Defendants’
motion concern the docket in case no. 94-2967 D/A, a case over
Which the Hon. Bernice B. Donald is presiding. The Court is
therefore unable to clarify or correct any orders on that docket.

Accordingly, Defendants' motion is DENIED.

So ORDERED this _E: day of July, ZOD .
m‘U.QQ
§~\P
JO P. MCCALLA
ITED STA'I‘ES DISTRICT JUDGE

This document entered on the docket sheet ln com Hance
with Hu|e 58 and/or 79(a) FRCP en -~ _, /¢/

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Honorable J on McCalla
US DISTRICT COURT

